
ORDER
| feting in accordance with Article V, Sections 1 and 5 of the 1974 Louisiana Constitution, and the inherent power of this Court, and considering the need to make certain amendments to the Rules for Lawyer Disciplinary Enforcement,
IT IS HEREBY ORDERED, ADJUDGED AND DECREED THAT:
PART I. Louisiana Supreme Court Rule XIX, §§ 19A and 19B are hereby renumbered as follows:
Section 19.1. Declarations of ineligibility for failing to pay child support.
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Section 19.2. Interim suspension for threat of harm.
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PART II. Section 19.3 is hereby enacted to read as follows:
Section 19.3. Interim suspension by consent.
At any time after a complaint has been received by the office of disciplinary counsel concerning a lawyer’s conduct, disciplinary counsel and the lawyer may jointly petition the court to enter an order of immediate interim suspension pending the resolution of the disciplinary proceeding. No request for a prospective effective date of interim suspension will be granted. The joint petition shall specify the reasons for requesting such court action. The court may then take any action it deems appropriate, including, but not limited | gto, issuing the requested order of interim suspension. The joint petition and any subsequent order of the court shall be public.
This order shall become effective upon signing, and shall remain in fall force and effect thereafter, until amended or changed under the authority of future orders of this Court.
/s/ Pascal F. Calogero, Jr. Pascal F. Calogero, Jr., Chief Justice
VICTORY, J., not on panel.
